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AO 245B (Rev. 11/16) Judgment in a Criminal Case

Sheet 1

UNITED STATES DISTRICT COURT

District of Columbia

 

 

 

 

UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
Vv. )
HERNAN GIRALDO-SERNA Case Number: CR 04-114-01
) USM Number: 29357-016
) FILED
) ROBERT FEITEL, ESQ. ee
) Defendant’s Attomey MAK 71 { Zvi
THE DEFENDANT:
Clerk, U.S. District & Bankruptcy
4 pleaded guilty to count(s) ONE (1) OF THE SECOND SUPERSEDING INDICTMENT Courts for the District of Columbia
C) pleaded nolo contendere to count(s)
which was accepted by the court.
C was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended

 

21:959,960(a)(3), 960 Conspiracy to Manufacture and Distribute Five Kilograms 3/2/2004".

  

 

(b)(1)(B)(ii), 963, and or More of Cocaine Intending and Knowing that the Cocaine
18:2 would be Unlawfully Imported Into the United States. ©
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

LJ] The defendant has been found not guilty on count(s)

 

L] Count(s) 0 is C] are dismissed on the motion of the United States.

 

_, Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

3/3/2017
Date of Imposition of Judgment

‘Signature of Judge

 

REGGIE B. WALTON US DISTRICTJUDGE
Name and Title of Judge

 

Mr 4 1s, 2¢/7

Date
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AO 245B (Rev. 11/16) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment— Page 2 _ of
DEFENDANT: HERNAN GIRALDO-SERNA
CASE NUMBER: CR 04-114-01

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

ONE HUNDRED AND NINETY-EIGHT (198) MONTHS WITH CREDIT FOR TIME SERVED ON COUNT 1, TO RUN
CONSECUTIVE TO ANY OTHER SENTENCE.

(1) The court makes the following recommendations to the Bureau of Prisons:

1 The defendant is remanded to the custody of the United States Marshal.

(] The defendant shall surrender to the United States Marshal for this district:
C] at Oam OO pm. on
LJ as notified by the United States Marshal.

 

(J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 2 p.m. on

 

[as notified by the United States Marshal.

{J as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
T have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of 6.

DEFENDANT: HERNAN GIRALDO-SERNA
CASE NUMBER: CR 04-114-01

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
FIVE (5) YEARS ON COUNT 1.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from

imprisonment and at least two periodic drug tests thereafter, as determined by the court.

[1] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
f¥J You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5. C) You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6. (J You must participate in an approved program for domestic violence. (check if applicable)

tw Noe

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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Sheet 3A — Supervised Release

Judgment—Page 4 of 6

 

DEFENDANT: HERNAN GIRALDO-SERNA
CASE NUMBER: CR 04-114-01

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7, You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.pov.

Defendant's Signature Date

 

 
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Sheet 3B — Supervised Release

Judgment—Page 5 oof 6

DEFENDANT: HERNAN GIRALDO-SERNA
CASE NUMBER: CR 04-114-01

ADDITIONAL SUPERVISED RELEASE TERMS

THE COURT FINDS that you do not have the ability to pay a fine and, therefore, waives imposition of a fine in this case.

The special assessment is immediately payable to the Clerk of the Court for the U.S. District Court, District of Columbia.
Within 30 days of any change of address, you shall notify the Clerk of the Court of the change until such time as the
financial obligation is paid in full.

Deportation Compliance - You shall comply with the Bureau of Immigration and Customs Enforcement's immigration
process. If deported, you shall not re-enter the United States without legal authorization during the period of supervision.
Should you receive permission to return to the United States, you shall report to the US Probation Office in the area where
you intend to reside within 72 hours of your return.

If you are not deported, you shall report to the U.S. Probation Office in the area where you intend to reside within 72 hours
of your release from prison.

The Probation Office shall release the presentence investigation report and/or Judgment and Commitment Order to the
Bureau of Immigration and Customs Enforcement (ICE) to facilitate any deportation proceedings.

The probation office shall release the presentence investigation report to all appropriate agencies in order to execute the
sentence of the Court.

NOTICE OF APPEAL - you have a right to appeal the sentence imposed by this Court. If you choose to appeal, you must
file any appeal within 14 days after the Court enters judgment. If you are unable to afford the cost of an appeal, you may
request permission from the Court to file an appeal without cost to you.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case

Sheet 5 — Criminal Monetary Penalties

Judgment — Page 6 of 6

DEFENDANT: HERNAN GIRALDO-SERNA
CASE NUMBER: CR 04-114-01

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ 0.00 $ 0.00 $ 0.00
[) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.
[1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.
Name of Payee Total Loss** Restitution Ordered Priority or Percentage
ORE “
TOTALS $ 0.00 $ 0.00
Restitution amount ordered pursuant to plea agreement $
The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
(The court determined that the defendant does not have the ability to pay interest and it is ordered that:

C1] the interest requirement is waived forthe (1 fine (4 restitution.

[1 the interest requirement forthe [ fine 1 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. ;
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
